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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

   SECURITIES AND EXCHANGE COMMISSION,

                     Plaintiff,                        Hon. Renée M. Bumb

         v.                                            Civ. No. 23-cv-8092

   JOHN A. DESALVO,

                     Defendant.




                 MEMORANDUM OF LAW IN SUPPORT OF THE
                 MOTION OF THE UNITED STATES FOR LEAVE
                      TO INTERVENE AND FOR A STAY




                                                      PHILIP R. SELLINGER
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  On the Memorandum:
  ANTHONY P. TORNTORE
  Assistant United States Attorney
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                            PRELIMINARY STATEMENT

        The allegations in this civil enforcement action filed by the United States

  Securities and Exchange Commission (“SEC”) (the “SEC Case”) against John A.

  DeSalvo (“DeSalvo”) substantially overlap with an active criminal case filed in

  this District against DeSalvo that is captioned United States v. DeSalvo, 23-mj-

  11153 (AME) (the “Criminal Case”).

        The United States of America, through the United States Attorney for the

  District of New Jersey (the “United States”), moves to (1) intervene in the SEC

  Case pursuant to Rule 24 of the Federal Rules of Civil Procedure; and (2) stay

  further proceedings and discovery in the SEC Case in order to preserve the

  integrity of the prosecution of the Criminal Case, advance the public interest,

  and prevent DeSalvo from circumventing the narrow confines of criminal

  discovery through broad civil requests and related litigation.

                 STATEMENT OF FACTS/PROCEDURAL HISTORY

        On August 22, 2023, a criminal complaint signed by United States

  Magistrate Judge André M. Espinosa was unsealed charging DeSalvo with two

  counts each of wire fraud in violation of 18 U.S.C. § 1343; securities fraud, in

  violation of 15 U.S.C. §§ 78j(b) and 78ff and 17 C.F.R. § 240.10b-5; and money

  laundering, in violation of 18 U.S.C. § 1956(a)(1)(B)(i) (the “Criminal Complaint”).

  See 23-mj-11153 (AME), Dkt. 1.

        The Criminal Complaint alleges that between on or about January 2021

  and May 2022, the Defendant operated two separate investment fraud schemes.

  The   first   scheme   involved   Defendant’s     creation   and    promotion   of   a

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  cryptocurrency known as “Blazar Token”.              The second scheme involved

  Defendant’s management of an investment group through an online brokerage

  (the “Investment Group”). Through both schemes, Defendant is charged with

  making various misrepresentations to investors and misappropriating investor

  funds totaling more than $700,000.

        On August 23, 2023, Defendant was arrested in connection with the

  Criminal Complaint.      See 23-mj-11153, Dkt. 3.         Later that afternoon, the

  Defendant appeared before the Honorable André M. Espinosa for an initial

  appearance during which the Court set conditions of release. See 23-mj-11153,

  Dkt. 4. Judge Espinosa has signed, on consent from the parties, a continuance

  which tolls the deadline for indictment under the Speedy Trial Act of 1974 until

  November 4, 2023. See 23-mj-11153, Dkt. 12.

        On August 23, 2023, the SEC filed a complaint against DeSalvo in the

  instant civil case that charges violations of Sections 17(a) of the Securities Act of

  1933, Section 10(b) of the Securities Act of 1934, and Sections 206(1), 206(2),

  and 206(4) of the Investment Advisers Act of 1940 and seeks various civil

  penalties.

        The SEC Complaint arises from the same allegations contained in the

  Criminal Complaint. Specifically, the SEC Complaint alleges that Defendant

  perpetrated a securities fraud schemes involving Defendant’s promotion of

  Blazar Token and Defendant’s management of the Investment Group. SEC

  Compl. DeSalvo waived service of a summons and copy of the SEC Complaint




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  on September 11, 2023. See 23-cv-8092, Dkt. 4. To date, DeSalvo has not

  responded to the SEC Complaint. His answer is due on November 7, 2023.

        The Government has consulted with counsel for the SEC who have advised

  that they do not oppose the Government’s motion for a stay. The Government

  has also consulted with counsel for DeSalvo who also does not oppose the

  Government’s motion for a stay.

        For the reasons set forth below, the Court should stay the SEC Case

  pending disposition of the Criminal Case.

                                       ARGUMENT

        THE UNITED STATES SHOULD BE PERMITTED TO INTERVENE IN
        THIS ACTION FOR THE LIMITED PURPOSE OF SEEKING A STAY

        The United States seeks to intervene for the limited purpose of staying this

  matter to protect the integrity of the ongoing prosecution of the Criminal Case.

  Under the Federal Rules of Civil Procedure, there are two bases for intervention:

  intervention as of right pursuant to Rule 24(a), or permissive intervention

  pursuant to Rule 24(b). The United States’ intervention in the SEC Case is

  supported under both grounds.

               The United States Is Entitled to Intervention as of Right

        Federal Rule of Civil Procedure 24(a)(2) provides for intervention as of right

  as follows, in pertinent part:

        On timely motion, the court must permit anyone to intervene who .
        . . claims an interest relating to the property or transaction that is
        the subject of the action, and is so situated that disposing of the
        action may as a practical matter impair or impede the movant’s
        ability to protect its interest, unless existing parties adequately
        represent that interest.


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  Fed. R. Civ. P. 24(a)(2).

        “A potential intervenor must satisfy four criteria to succeed on a motion

  pursuant to Rule 24(a)(2): ‘(1) the application for intervention is timely; (2) the

  applicant has a sufficient interest in the litigation; (3) the interest may be affected

  or impaired, as a practical matter by the disposition of the action; and (4) the

  interest is not adequately represented by an existing party in the litigation.’”

  United States v. Terr. of the V.I., 748 F.3d 514, 519 (3d Cir. 2014) (quoting Harris

  v. Pernsley, 820 F.2d 592, 596 (3d Cir. 1987) (citation omitted)). “Although these

  requirements are intertwined, each must be met to intervene as of right.” Harris,

  820 F.2d at 596 (citation omitted).

                      The United States’ Motion for Intervention is Timely

        The determination of whether a motion to intervene is timely is

  “determined from all the circumstances and, in the first instance, by the [trial]

  court in the exercise of its sound discretion.” Princeton Biochemicals, Inc. v.

  Beckman Coulter, Inc., 223 F.R.D. 326, 328 (D.N.J. 2004) (citing In re Fine Paper

  Antitrust Litig., 695 F.2d 494, 500 (3d Cir. 1982) (quotations omitted)). Courts

  in the Third Circuit weigh three factors in determining timeliness: “(1) the stage

  of the proceeding; (2) the prejudice that delay may cause the parties; and (3) the

  reason for the delay.”      Mountain Top Condo. Ass’n v. Dave Stabbert Master

  Builder, Inc., 72 F.3d 361, 369 (3d Cir. 1995).

        Here, the United States’ motion to intervene is timely. The SEC Case was

  initiated on August 23, 2023, and DeSalvo has not filed a responsive pleading.

  Furthermore, the Court has not yet set deadlines for additional proceedings and

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  civil discovery has not yet commenced. Given the infancy of this case, the United

  States’ motion to intervene is timely in that it will cause no delay or prejudice to

  the parties., See id. at 370 (finding no prejudice from a four-year delay in filing

  intervention motion because, while some written discovery and settlement

  negotiations had occurred prior to the motion, there were no depositions taken,

  dispositive motions filed, or decrees entered during the four-year period); see

  also SEC v. Manor, No. CV 20-597 (SRC), 2020 WL 3446306, at *2 (D.N.J. June

  24, 2020) (finding intervention by the United States to be timely where the SEC

  civil action was “in its earliest stages”).

                      The United States Has a Compelling Interest in the SEC
                      Case That is Not Adequately Represented by the Existing
                      Parties, and Which May Be Adversely Affected in the
                      Absence of Intervention

        The United States has a substantial interest in the civil litigation that is

  not sufficiently represented by the existing parties and that may be harmed if

  the United States is not permitted to intervene. Courts have recognized that “[t]he

  government ha[s] a discernible interest in intervening in order to prevent

  discovery in the civil case from being used to circumvent the more limited scope

  of discovery in the [parallel] criminal matter.” S.E.C. v. Chestman, 861 F.2d 49,

  50 (2d Cir. 1988) (per curiam); see also S.E.C. v. Ott, Civ. No. 06-4195 (GEB),

  2006 WL 8462454, at *2 (D.N.J. Nov. 29, 2006) (Bongiovanni, U.S.M.J.) (finding

  that “it [wa]s clear that the United States ha[d] a direct and substantial interest

  in th[e] [SEC civil] litigation, because the ongoing parallel criminal investigation

  concern[ed] the same business practices, contracts and payments at issue in



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  th[e] [civil] matter”); S.E.C. v. Dubovoy, et al., Civ. No. 15-6076 (MCA) (D.N.J. Jan.

  29, 2016) (Hammer, U.S.M.J.) (Dkt. No. 240) (granting United States’ motion to

  intervene and stay SEC case based on same securities fraud scheme charged in

  criminal indictment, even though some of the defendants in the SEC case were

  not charged in the criminal indictment and opposed the stay request). This

  interest is present here, because if not stayed, the SEC Case presumably will

  proceed to the discovery stage and thus enable DeSalvo to extract material from

  the United States that he would not otherwise be entitled to at this stage in the

  Criminal Case.

        Furthermore, intervention is necessary because only the United States

  Attorney can effectively represent these interests in the SEC Case. The SEC Case

  and the parallel Criminal Case involve the same individual defendant, allegedly

  perpetrating the same fraudulent schemes, involving many of the same alleged

  victims, while carried out over a similar period of time. However, “the interests

  of the SEC in enforcing the provisions of the Securities and Exchange Act of

  1934, and of Defendants do not represent those of the United States.” Ott, 2006

  WL 8462454, at *3 (citation omitted).        The United States’ interests concern

  safeguarding the criminal investigation and prosecution, matters separate and

  apart from the SEC’s interests in protecting the integrity of financial markets.

  See Manor, 2020 WL 3446306, at *2 (“The SEC, though an agency of the federal

  government, has an interest in protecting the integrity of financial markets. This

  interest is not only distinct from the Government’s interest in the criminal

  prosecution but also has the potential to conflict with it.”). The interests of the

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  litigants in the SEC Case may be adverse to those of the United States to the

  extent they seek to discover and publicize matters that are the subject of the

  ongoing criminal prosecution; intervention by the United States is necessary,

  therefore, in order to make sure its interests are adequately represented and

  protected.

        Based on the foregoing, the United States should be granted leave to

  intervene as of right pursuant to Fed. R. Civ. P. 24(a).

               Alternatively, the United States Should be Granted Permissive
               Intervention Because There are Common Questions of Law and
               Fact in the SEC Case and the Criminal Case

        Federal Rule of Civil Procedure 24(b)(1)(B) provides an alternative means

  for intervention—specifically, permissive intervention—where a party “has a

  claim or defense that shares with the main action a common question of law or

  fact.” Fed. R. Civ. P. 24(b)(1)(B). “It is well-established that the United States

  Attorney may intervene in a federal civil action to seek a stay of discovery when

  there is a parallel criminal proceeding, which is anticipated or already underway,

  that involves common questions of law or fact.” S.E.C. v. Downe, Civ. No. 92-

  4092 (PKL), 1993 WL 22126, *11 (S.D.N.Y. Jan. 26, 1993) (citing Chestman, 861

  F.2d at 50); SEC v. One or More Unknown Purchasers of Sec. of Global Indus., Civ.

  No. 11-6500 (RA), 2012 WL 5505738, *2 (S.D.N.Y. Nov. 9, 2012); Board of

  Governors of the Federal Reserve Sys. v. Pharaon, 140 F.R.D. 634, 638 (S.D.N.Y.

  1991); First Merchants Enterprise, Inc. v. Shannon, No. 88 Civ. 8254 (CSH), 1989

  WL 25214 (S.D.N.Y. Mar. 16, 1989). In exercising its discretion, the court must




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  consider whether the intervention will unduly delay or prejudice the adjudication

  of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

        Here, the SEC Case and the corresponding criminal prosecution of the

  same individual defendant arise out of numerous common questions of law and

  fact related to DeSalvo’s alleged involvement in the above-described fraudulent

  scheme. Moreover, intervention will not cause undue delay or prejudice the

  parties, particularly since the civil discovery process has not commenced.

  Accordingly, even if the Court were to find that the United States may not

  intervene as of right, the Court should exercise its discretion to allow the United

  States to intervene in this case for the limited purpose of moving for a stay.

        A STAY OF THE SEC CASE IS NECESSARY TO PROTECT THE
        INTEGRITY OF THE ONGOING CRIMINAL PROSECUTION

               The Court Has the Authority to Issue a Stay

        The United States seeks to intervene for the limited, and authorized,

  purpose of staying this matter.      Courts have the inherent authority to stay

  proceedings in a civil case in the interests of justice when a parallel criminal

  prosecution is underway. See RAD Services, Inc. v. Aetna Casualty & Surety Co.,

  808 F.2d 271, 279 n.3 (3d Cir. 1986); SEC v. HealthSouth Corp., 261 F. Supp.

  2d 1298, 1326 (N.D. Ala. 2003). It is “clearly within the power of the district

  court to balance ‘competing interests’ and decide that judicial economy would

  best be served by a stay of civil proceedings.” United States v. Mellon Bank, N.

  A., 545 F.2d 869, 872-873 (3d Cir. 1976) (quoting Texaco, Inc. v. Borda, 383 F.2d

  607, 609 (3d Cir. 1967)).



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       Factors that courts have considered in weighing whether a stay is

 warranted include: the extent to which the criminal and civil cases overlap; the

 interests of the public in the pending civil and criminal litigation; the potential

 prejudice to the civil parties of delaying their litigation; the interests of the court;

 and the status of the criminal case. See Keating v. Office of Thrift Supervision,

 45 F.3d 322, 324–25 (9th Cir. 1995); Walsh Sec. v. Cristo Prop. Mgmt., 7 F. Supp.

 2d 523, 526-27 (D.N.J. 1998); HealthSouth, 261 F. Supp. 2d at 1326. These

 factors support a stay in this case.

              The Criminal and Civil Matters Overlap

       There is substantial overlap between the Criminal Case and the SEC Case.

 As noted, they involve the same individual defendant, DeSalvo, and the same

 fraud scheme. As a result, many of the potential witnesses in the Criminal Case

 also are potential witnesses in the SEC Case.

              The Public Interest Favors a Stay

       It is well-settled that “a trial judge should give substantial weight to [the

 public interest in law enforcement] in balancing the policy against the right of a

 civil litigant to a reasonably prompt determination of his civil claims or

 liabilities.” Campbell v. Eastland, 307 F.2d 478, 487 (5th Cir. 1962). As one

 court has observed, “where both civil and criminal proceedings arise out of the

 same or related transactions, the government is ordinarily entitled to a stay of

 all discovery in the civil action until disposition of the criminal matter.” United

 States v. One 1964 Cadillac Coupe DeVille, 41 F.R.D. 352, 353 (S.D.N.Y. 1966);

 see also S.E.C. v. Shkreli, 15-CV-7175, 2016 WL 1122029, *7 (E.D.N.Y. March

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 22, 2016) (granting government’s motion to stay SEC case over the defendant’s

 objection and noting, “the public’s interest in the effective enforcement of the

 criminal law is the paramount public concern.”); S.E.C. v. Nicholas, 569 F. Supp.

 2d 1065, 1072 (C.D. Cal 2008) (“The criminal case is of primary importance to

 the public, the Defendants, and the Court”; the public’s interest “is best served

 by resolving the criminal case in the most expeditious manner possible.”).

       A stay of discovery in this matter also is in the public’s interest because it

 will prevent the defendant from utilizing the expansive civil discovery rules to

 obtain discovery that he otherwise would not be entitled to under the narrow

 rules of criminal discovery. As the Third Circuit explained in Mellon Bank, a civil

 litigant should not be permitted to proceed simultaneously with an overlapping

 criminal matter, because “the similarity of the issues [leaves] open the possibility

 that [the defendant] might improperly exploit civil discovery for the advancement

 of his criminal case.”     545 F.2d at 873.     The possibility of improper use of

 discovery, in part, led the court in Mellon Bank to stay discovery. Id. at 874. The

 concern expressed in Mellon Bank that criminal discovery limitations not be

 circumvented has been echoed by many courts that have stayed civil discovery

 in parallel proceedings.

       For example, in Campbell, the Fifth Circuit stated:

       A litigant should not be allowed to make use of the liberal discovery
       procedures applicable to a civil suit as a dodge to avoid the
       restrictions on criminal discovery and thereby obtain documents he
       would not otherwise be entitled to for use in his criminal suit.
       Judicial discretion and procedural flexibility should be utilized to
       harmonize the conflicting rules and to prevent the rules and policies
       applicable to one suit from doing violence to those pertaining to the


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       other. In some situations it may be appropriate to stay the civil
       proceeding. In others it may be preferable for the civil suit to
       proceed – unstayed. In the proper case the trial judge should use
       his   discretion   to   narrow    the    range     of   discovery.

 307 F.2d at 487 (internal citation omitted).

       Courts around the country, including in this District, have relied on

 similar logic to stay civil discovery while criminal proceedings are ongoing. See

 Ott, 2006 WL 8462454 at *1-4; Dubovoy, Civ. No. 15-6076 (D.N.J.) (Dkt. No. 240);

 Downe, 1993 WL 22126, at *12–14; In re Ivan F. Boesky Securities Litigation, 128

 F.R.D. 47, 49-50 (S.D.N.Y. 1989); United States v. Hugo Key & Son, Inc., 672 F.

 Supp. 656, 657-59 (D.R.I. 1987); Founding Church of Scientology v. Kelley, 77

 F.R.D. 378, 380-81 (D.D.C. 1977); SEC v. Control Metals Corp., 57 F.R.D. 56, 57-

 58 (S.D.N.Y. 1972).

       Notwithstanding the concern that litigants will exploit the liberal civil

 discovery rules to their advantage, the United States does not have to

 demonstrate that any particular defendant already has unfairly taken advantage

 of the civil discovery provisions to the detriment of the United States or the

 public. Rather, it is presumed that criminal defendants and targets will make

 full use of such an unsurpassed opportunity to harm the Government’s criminal

 cases. See Integrated Generics, Inc. v. Bowen, 678 F. Supp. 1004, 1009 (E.D.N.Y.

 1988) (no need to find wrongful intent).       Courts have recognized the unfair

 advantages inherent in civil discovery opportunities and have, accordingly,

 stayed discovery.     See, e.g., Control Metals Corp., 57 F.R.D. at 57 (staying

 depositions of four grand jury witnesses).



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       Here, given the overlap of witnesses and issues between the SEC Case and

 the Criminal Case, interrogatories and deposition notices in the SEC Case could

 undermine or otherwise hinder the criminal prosecution. Campbell, 307 F.2d at

 487 n.12.    Even if the defendants here “possessed the purest of motives,”

 allowing civil discovery to go forward would make them “the beneficiar[ies] of

 materials otherwise unavailable to [the]m under the criminal rules . . . thus

 nullifying in effect the criminal discovery limitations.” In re Eisenberg, 654 F.2d

 1107, 1113-14 (5th Cir. 1981).

              The Public’s Interest in Allowing the Criminal Case to Be
              Completed Without Interference Outweighs the Minimal
              Prejudice to the Defendant From a Stay

       The public’s significant interest in allowing the Criminal Case to run its

 course must be balanced against a civil litigant’s interest in a final resolution of

 its case. All litigants, of course, have an interest in the swift resolution of their

 claims and defenses. The United States is mindful that neither the Court, the

 SEC, nor the Defendant wants this case to be delayed unnecessarily.

       Nonetheless, disposing of the SEC Case expeditiously does not outweigh

 the importance of conducting an unimpeded criminal prosecution.              This is

 especially true where a stay until the completion of any trial in the Criminal Case

 will cause little to no particularized harm to the public, the SEC, or to the

 Defendant, and even could benefit the Defendant in light of the potential Fifth

 Amendment implications involved in proceeding with the SEC Case.                 See

 Ironbridge Corp. v. C.I.R., 528 F. App’x 43, 46 (2d Cir. 2013) (unpublished and

 non-precedential) (“We also presume that parallel civil and criminal proceedings

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 can sometimes burden the exercise of the Fifth Amendment privilege against self-

 incrimination.”); S.E.C. v. McGinnis, No. 14-CV-6, 2016 WL 591764, *3 (D. Vt.

 Feb. 12, 2016) (“Defendants additionally point out that proceeding in the instant

 case may compromise their Fifth Amendment rights to the extent not already

 waived ....”); S.E.C. v. Oakford Corp., 181 F.R.D. 269, 270 (S.D.N.Y. 1998) (“Often

 the [stay application filed by the criminal enforcement agency] is joined by the

 defendant as well, who otherwise confronts the prospect of expensive dual

 litigation and the dilemma either of having to testify in a pre-trial deposition or,

 by invoking the privilege against self-incrimination, subjecting himself to a

 permissible adverse inference in the civil case.”) (citing Baxter v. Palmigiano, 425

 U.S. 308, 318 (1976)).

             A Stay Would Likely Narrow the Issues in the SEC Case

       Finally, a stay also would benefit the public interest by potentially

 narrowing (or eliminating) the issues to be decided in the SEC Case. See In re

 Grand Jury Proceedings (Williams), 995 F.2d 1013, 1018 n.11 (11th Cir. 1993)

 (“Although stays delay civil proceedings, they may prove useful as the criminal

 process may determine and narrow the remaining civil issues.”); Texaco Inc., 383

 F.2d at 609 (affirming decision to stay civil action because, among other things,

 “the trial of the criminal case [might] reduce the scope of discovery in the civil

 action . . . [a]nd . . . perhaps might also simplify the issues”); Brock v. Tolkow,

 109 F.R.D. 116, 120 (E.D.N.Y. 1985) (“[T]he resolution of the criminal case might

 reduce the scope of discovery in the civil case or otherwise simplify the issues.”).




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       For example, if the Criminal Case results in a guilty verdict against

 DeSalvo, the higher burden of proof in the criminal matter likely will mean that

 the jury’s findings will have preclusive effect in the SEC Case. Likewise, if the

 Criminal Case results in a guilty plea by DeSalvo, DeSalvo’s admissions will

 undoubtedly narrow, and perhaps eliminate, the issues to be decided against

 him in the SEC Case. In either case, there would likely be little left to litigate

 civilly after a successful criminal prosecution.

                                   CONCLUSION

       For the reasons set forth above, the United States respectfully requests

 that the Court grant it leave to intervene in the SEC Case and order a stay of the

 SEC Case until the conclusion of the Criminal Case.



                                       Respectfully submitted,
                                       Philip R. Sellinger
                                       United States Attorney


                                 By:   /s/Anthony P. Torntore
                                       ANTHONY P. TORNTORE
                                       Assistant United States Attorney




 Dated:      Newark, New Jersey
             October 11, 2023




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